                                                                                Exhibit 17



                                    Adelana Akindes <akindeslana@gmail.com>



March on the RNC Permit
                                                          Wed, Apr 12, 2023 at 1:32
Adelana Akindes <akindeslana@gmail.com>
                                                                                PM
To: dpwspecialevents@milwaukee.gov
Cc: staff@marchonrnc2024.org, tracey.pollock@gmail.com

 Good afternoon,

 My name is Adelana Akindes. I applied for a Special Events Permit earlier
 today on behalf of the Coalition to March on the RNC. I was also part of the
 group that applied for the permit for the Coalition to March on the DNC in 2020.

 Since the application process is different this time as it's completely online, we
 wanted to make sure everything looks good on our end. We were also
 wondering if we'd be able to add an alternate applicant, since this was an
 option before the process went fully online.

 We're well aware that this event is more than a year away. However we
 wanted to get a headstart on applying for a permit well in advance.

 I look forward to hearing from you and continuing forward in this process.

 Adelana Akindes




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